                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 JANE DOE,                                           )
                                                     )
        Plaintiff,                                   )
                                                     )
 v.                                                  )      No. 3:22-CV-63-KAC-DCP
                                                     )
 KNOX COUNTY,                                        )
                                                     )
        Defendant.                                   )

              MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

        Knox County Board of Education (“KCBOE”) moves this Court for leave to file

 Attachment 1 and 2 of the Declaration of James Allen under seal for the following reasons:

        1. The matter before the Court is an action involving minor student and issues related to

            the Americans with Disabilities Act and Section 504 of the Rehabilitation Act.

        2. Plaintiff’s has moved for a Preliminary Injunction pending Appeal, in order to respond

            KCBOE will be filing Declarations from KCBOE staff including Mr. Allen.

        3. Mr. Allen is the Principal of L&N STEM Academy, and his declaration includes two

            documents from Ms. Doe’s educational records. These documents are medical records

            Ms. Doe provided KCBOE and the “Care Plan,” utilized by her previous school. Ms.

            Doe’s parent provided KCBOE these records as part of her enrollment and to assist in

            the development of her 504 plan at KCBOE.

        4. Defendant KCBOE believes that it has redacted any and all identifying information

            but considering Plaintiff’s minor status and the media attention this case has drawn,

            KCBOE files this Motion to File under seal out of an abundance of caution.




Case 3:22-cv-00063-KAC-DCP Document 45 Filed 04/28/22 Page 1 of 2 PageID #: 453
        5. The granting of this Motion will not prejudice Plaintiff in anyway as Plaintiff is

            already in possession of these records. Counsel for KCBOE will also furnish Counsel

            for Plaintiff a copy of the proposed sealed attachments if necessary.

        For the reasons stated above, KCS moves this Court for leave to file Attachment 1 and 2

 of the Declaration of James Allen under seal.

        Respectfully submitted,


                                                       s/Amanda Lynn Morse
                                                       Amanda Lynn Morse (BPR # 032274)
                                                       Deputy Law Director
                                                       Suite 612, City-County Building
                                                       400 Main Street
                                                       Knoxville, TN 37902
                                                       (865) 215-2327




                                  CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing was filed electronically on the date recorded
 by the Court’s electronic filing system. Notice of this filing will be sent by operation of the
 Court’s electronic filing system to all parties indicated on the electronic filing receipt. All other
 parties will be served by regular United States Mail, postage prepaid. Parties may access this
 filing through the Court’s electronic filing system.

                                                       s/Amanda Lynn Morse
                                                       Amanda Lynn Morse




                                                  2


Case 3:22-cv-00063-KAC-DCP Document 45 Filed 04/28/22 Page 2 of 2 PageID #: 454
